






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00411-CV






In re Kameron D. Johnson







In the Matter of E. T.






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 98TH JUDICIAL DISTRICT


NO. J-16,230, HONORABLE DARLENE BYRNE, JUDGE PRESIDING 





ORDER   TO   SHOW   CAUSE



PER CURIAM


	This is a contempt proceeding ancillary to E.T.'s appeal from a juvenile delinquency
proceeding.  Ths subject of this proceeding is Kameron D. Johnson, appellant's counsel.

	The time for filing appellant's brief in this cause was extended twice on counsel's
motion.  On November 13, 2001, in granting the second motion, this Court entered an order directing
counsel to tender a brief on appellant's behalf no later than December 7, 2001, and notifying counsel
that no further extensions would be granted.  Counsel failed to file a brief as ordered.  

	It is hereby ordered that Kameron D. Johnson shall appear in person before this Court
on February 6, 2002, at 8:30 a.m., in the courtroom of this Court, located in the Price Daniel, Sr.
Building, 209 W. 14th Street, Austin, Travis County, Texas, to show cause why he should not be
held in contempt and sanctions imposed for his failure to obey the November 13 order of this Court. 
This order to show cause will be withdrawn and Kameron D. Johnson will be relieved of his
obligation to appear before this Court as above ordered if the Clerk of this Court receives appellant's
brief by February 1, 2002.  

	It is so ordered January 24, 2002.


Before Chief Justice Aboussie, Justices B. A. Smith and Onion*

Do Not Publish




























*	Before John F. Onion, Jr., Presiding Judge (retired), Court of Criminal Appeals, sitting by
assignment.  See Tex. Gov't Code Ann. § 74.003(b) (West 1998).


